           Case 1:13-vv-00897-UNJ Document 27 Filed 11/21/14 Page 1 of 2




 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                        No. 13-897V
                                   Filed: October 29, 2014

* * * * * * * * * * * * * * *
LAURA J. LEBEL,                                  *     UNPUBLISHED
                                                 *
                    Petitioner,                  *     Special Master Hamilton-Fieldman
                                                 *
               v.                                *
                                                 *     Decision on Attorneys’ Fees and Costs;
SECRETARY OF HEALTH AND                          *     Reasonable Amount Requested to
HUMAN SERVICES,                                  *     which Respondent Does Not Object.
                                                 *
            Respondent.                          *     .
* * * * * * * * * * * * * * *

Paul M. Iannaccone, RisCassi & Davis, P.C., Hartford, CT, for Petitioner.
Gordon Shemin, U.S. Department of Justice, Washington, DC, for Respondent.

                        DECISION 1 (ATTORNEY FEES AND COSTS)
        In this case under the National Vaccine Injury Compensation Program, 2 the undersigned
issued a decision awarding compensation on September 19, 2014. On October 28, 2014, the
parties filed a Stipulation for Attorneys’ Fees and Costs. This stipulation requests that the
undersigned approve an award of $24,536.28 in total attorneys’ fees and costs. Pursuant to
General Order #9, the stipulation reflects that Petitioner personally incurred no costs in pursuit of
her claim.

       The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
       1
         The undersigned intends to post this unpublished decision on the United States Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As
provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of
any information furnished by that party (1) that is trade secret or commercial or financial
information and is privileged or confidential, or (2) that are medical files and similar files the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Otherwise, “the
entire” decision will be available to the public. Id.
       2
        The applicable statutory provisions defining the program are found at 42 U.S.C.
§ 300aa-10 et seq. (2006).



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         Case 1:13-vv-00897-UNJ Document 27 Filed 11/21/14 Page 2 of 2



appropriate. Accordingly, the undersigned hereby awards the amount of $24,536.28, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Paul
Iannaccone, of the law firm of RisCassi & Davis, P.C.

       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.

IT IS SO ORDERED.

                                                    s/Lisa D. Hamilton-Fieldman
                                                    Lisa D. Hamilton-Fieldman
                                                    Special Master




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